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Case 2:20-cr-00337-GMN-NJK Document 49 Filed 11/03/21 Page 1 of 2

 

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CLERK US DISTRICT COURT
DISTRICT OF NEVADA

 

 

 

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UNITED STATES DISTRICT COURT
DISTRICT OF NEVADA

UNITED STATES OF AMERICA, 2:20-CR-337-GMN-NJK
Plaintiff, Final Order of Forfeiture
v.
RONALD ALLEN CLASS, Jr.,

Defendant.

 

 

 

The United States District Court for the District of Nevada entered a Preliminary
Order of Forfeiture pursuant to Fed. R. Crim. P. 32.2(b)(1) and (b)(2) and 18 U.S.C. §
924(d){(1) with 28 U.S.C. § 2461(c) based upon the plea of guilty by Ronald Allen Class, Jr.,
to the criminal offense, forfeiting the property set forth in the Plea Agreement and the
Forfeiture Allegation of the Criminal Indictment and shown by the United States to have
the requisite nexus to the offense to which Ronald Allen Class, Jr., pled guilty. Criminal
Indictment, ECF No. 6; Change of Plea, ECF No, 32; Plea Agreement, ECF No. 33;
Preliminary Order of Forfeiture, ECF No. 34.

This Court finds that on the government's motion, the Court may at any time enter
an order of forfeiture or amend an existing order of forfeiture to include subsequently
located property or substitute property pursuant to Fed. R. Crim. P. 32.2(e) and
32.2(b)(2)(C).

The government could not reasonably identify any potential claimants for service in
lieu of publication pursuant to Fed. R. Crim. P. 32.2(b)(6)(C) with Fed. R. Civ. P. Supp.
Rule G(4)(a)G)(A).

 
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Case 2:20-cr-00337-GMN-NJK Document 49 Filed 11/03/21 Page 2 of 2

This Court finds no petition was filed herein by or on behalf of any person or entity
and the time for filing such petitions and claims has expired.

This Court finds no petitions are pending regarding the property named herein and
the time has expired for presenting such petitions.

THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that
all possessory rights, ownership rights, and all rights, titles, and interests in the property
hereinafter described are condemned, forfeited, and vested in the United States pursuant to
Fed, R. Crim. P. 32.2(b)(4)(A) and (b)(4)(B); Fed. R. Crim. P. 32.2(c)(2); 18 U.S.C. §
924(d)(1) with 28 U.S.C. § 2461(c); and 21 U.S.C. § 853(n)(7) and shall be disposed of
according to law:

1. a Remington Model 11 12 gauge semi-automatic shotgun bearing serial number

P145350M; and

2. any and all compatible ammunition
(all of which constitutes property).

IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that the Clerk send

copies of this Order to all counsel of record.

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GLORIAMW. NAVARRO
UNITE ATES DISTRICT JUDGE

 
